
ON MOTION TO WITHDRAW AS COUNSEL
PER CURIAM.
We grant the public defender’s Anders motion to withdraw. We agree that the designated judicial acts are wholly frivolous and without merit. The public defender has complied with the requirements set forth in Anders and recently addressed by the supreme court in Forrester. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); Order of the First District Court of Appeal Regarding Brief Filed in Forrester v. State, 556 So.2d 1114 (Fla.1990). We affirm the conviction and sentence and grant the public defender’s motion to withdraw.
DOWNEY, WARNER and POLEN, JJ., concur.
